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               EXHIBIT “A”
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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION

                             Case No. 6:22-cv-02075-RBD-LHP

  MARISSA GIANNERINI,

           Plaintiff,

  v.

  EMBRY-RIDDLE AERONAUTICAL
  UNIVERSITY, INC.,

           Defendant.

 _________________________________/

       DECLARATION OF ANTHONY DEVITO CERTIFYING RECORDS
            PURSUANT TO FEDERAL RULE OF EVIDENCE 902

          Anthony James DeVito, pursuant to 28 U.S.C. § 1746, hereby certifies as

 follows:

          1.     I am over 18 years of age, of sound mind, and otherwise competent to

 make this declaration. The evidence set out in this declaration is based on my personal

 knowledge and if called as a witness I could, and would, testify competently as to these

 facts.

          2.     I am a Practice Technology Support Coordinator for the law firm Carlton

 Fields, P.A.

          3.     In that capacity, I am a custodian of records for Carlton Fields, P.A.

          4.     I have worked with e-discovery platforms for over 10 years. In the

 industry, I am considered an eDiscovery Project Manager. I also had forensics

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 collection certifications through Cellebrite Tools, which certifications require a deep

 understanding of file metadata at the forensic level.

        5.     I submit this declaration in support of the records attached hereto, which

 is: a metadata report for documents ERAU(Giannerini) 0000580, ERAU(Giannerini)

 0000581, and ERAU(Giannerini) 0000582.

        6.     The records attached hereto were made at or near the time of the events

 reflected in the records by people with knowledge of those matters.

        7.     It was the regular practice of Carlton Fields’ business activities to make

 the records. These records were made as part of that regular practice.

        8.     The records were kept in the ordinary course of Carlton Fields’ business

 activity.

        I certify under penalty of perjury that the foregoing is true and correct.

        Executed on January 10, 2025.



                                              ____________________________
                                          ____________________________________
                                              ony
                                          Anthony y JJames
                                                      am
                                                       mes DeVito




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